                 Case 2:12-cr-00327-WBS Document 60 Filed 05/02/13 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   LEE S. BICKLEY
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6 Attorneys for Plaintiff
   United States of America
 7
 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-00327 WBS

12                                   Plaintiff,           STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER

14   SVETLANA DUBINKSKY, et al.,

15                                   Defendants.

16
17                                                 STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendants Svetlana

19 Dubinsky, Serge Doubinski, and Zinayda Chekayda, by and through their counsel of record, hereby

20
     stipulate as follows:
21
            1.       By previous order, this matter was set for status on May 6, 2013.
22
            2.       By this stipulation, defendants now move to continue the status conference until August
23
     5, 2013 and to exclude time between May 6, 2013 and August 5, 2013, under Local Code T4. The
24

25 United States does not oppose this request.
26          3.       The parties agree and stipulate, and request that the Court find the following:
27                   a.      The United States has represented that the discovery associated with this case
28
     includes investigative reports and related documents in electronic form, including approximately 40,000
      Stipulation for Continuance of Status Hearing and for 1
     Exclusion of Time
                  Case 2:12-cr-00327-WBS Document 60 Filed 05/02/13 Page 2 of 3


 1 pages of discovery. All of this discovery has been either produced directly to counsel and/or made

 2 available for inspection and copying.

 3
                      b.      Counsel for defendants desire additional time to consult with each of their clients,
 4
     to review the current charges, to conduct investigation and research related to the charges, to review and
 5
     copy discovery for this matter, to discuss potential resolutions with each of their clients, to prepare
 6
     pretrial motions and otherwise prepare for trial.
 7
 8                    c.      Counsel for defendants believe that failure to grant the above-requested

 9 continuance would deny them the reasonable time necessary for effective preparation, taking into

10 account the exercise of due diligence.

11
                      d.      The United States does not object to the continuance.
12
                      e.      Based on the above-stated findings, the ends of justice served by continuing the
13
     case as requested outweigh the interest of the public and the defendants in a trial within the original date
14
15 prescribed by the Speedy Trial Act.

16                    f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

17 et seq., within which trial must commence, the time period of May 6, 2013 to August 5, 2013 inclusive,
18 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results
19
     IURPDFRQWLQXDQFHJUDQWHGE\WKH&RXUWDWGHIHQGDQW¶VUHTXHVWRQWKHEDVLVRIWKH&RXUW VILQGLQJWKDW
20
     the ends of justice served by taking such action outweigh the best interest of the public and the
21
     defendant in a speedy trial.
22

23           4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

24 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

25 must commence.
26
27

28

     Stipulation for Continuance of Status Hearing and for   2
     Exclusion of Time
               Case 2:12-cr-00327-WBS Document 60 Filed 05/02/13 Page 3 of 3


 1 IT IS SO STIPULATED.

 2 DATED: May 1, 2013                                          BENJAMIN B. WAGNER
                                                               United States Attorney
 3
                                                               /s/ Todd A. Pickles
 4                                                             TODD A. PICKLES
                                                               LEE S. BICKLEY
 5                                                             Assistant United States Attorneys
 6                                                             For the UNITED STATES OF AMERICA
 7
     DATED: May 1, 2013                                        /s/ Todd A. Pickles for
 8                                                             PATRICK HANLY, ESQ.
 9                                                             For defendant SVETLANA DUBINSKY
10
     DATED: May 1, 2013                                        SUGARMAN & CANNON
11
                                                               /s/ Todd A. Pickles for
12                                                             CHRISTOPHER CANNON, ESQ.
13                                                             For defendant SERGE DOUBINSKI
14
     DATED: May 1, 2013                                        /s/ Todd A. Pickles for
15                                                             SCOTT CAMERON, ESQ.
16                                                             For defendant ZINAYDA CHEKAYDA
17
18                                                           ORDER
19
             IT IS SO FOUND AND ORDERED this 2nd day of _May, 2013.
20

21
                                                               _________________________________________
22                                                             WILLIAM B. SHUBB
                                                               UNITED STATES DISTRICT JUDGE
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     Stipulation for Continuance of Status Hearing and for     3
     Exclusion of Time
